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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,                             Case No. 1:21-cv-06546

                        Plaintiff,                   The Honorable John R. Blakely

        v.

 VINTAGE BRAND, LLC,

                        Defendant.


 NOTICE OF WITHDRAWAL OF DEFENDANT VINTAGE BRAND, LLC’S MOTION
  TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT IN PART AND TO
                               STRIKE

       In light of Plaintiff’s submission of its Second Amended Complaint, Defendant Vintage

Brand, LLC hereby withdraws its Motion to Dismiss Plaintiff’s First Amended Complaint in Part

and to Strike, filed on March 2, 2022. Vintage Brand reserves all rights to pursue remedies related

to being forced to engage in multiple rounds of motions practice to obtain a definition of the claims

and alleged trademark rights asserted by Plaintiff that meets the requirements of the Federal Rules

of Civil Procedure.

 DATED this 23rd day of March, 2022.

                                        /s/ Theresa H. Wang
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